                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                               WESTERN DIVISION

 UNITED STATES OF AMERICA,
                  Plaintiff,                             No. CR 09-4033-MWB
 vs.                                             MEMORANDUM OPINION AND
                                                ORDER REGARDING DEFENDANT
 JAMECO BELL,
                                                  BELL’S MOTION IN LIMINE
                  Defendant.
                                  ____________________

        In a Second Superseding Indictment (docket no. 140), handed down October 21,
2009, defendant Jameco Bell and several co-defendants were charged with conspiracy to
distribute and to possess with intent to distribute marijuana, all in violation of 21 U.S.C.
§ 846. Trial against Bell and remaining co-defendants is set to begin on February 22,
2010.
        This case is before the court on defendant Bell’s February 2, 2010, Motion In
Limine (docket no. 246), in which Bell asks the court to exclude evidence of thirty-nine
prior convictions, only four of which are for drug offenses, and only one of those drug
offenses is a felony conviction, but it involved possession of cocaine, not distribution of
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marijuana.       In a Response (docket no. 257), filed February 5, 2010, the prosecution
asserts that it “does not object to the defendant’s request.”


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        Defendant Bell filed a substantially similar Motion In Limine (docket no. 129) on
October 22, 2009, differing primarily in that it contained less specificity as to some recent
convictions in Woodbury County, Iowa. The day before that motion was filed, however,
the Grand Jury handed down the Second Superseding Indictment (docket no. 140), and the
trial was subsequently continued. The court believes that Bell’s present Motion In Limine
(docket no. 246) is intended to supersede Bell’s original Motion In Limine (docket no.
129).


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      THEREFORE, finding no opposition from the prosecution, defendant Jameco Bell’s
February 2, 2010, Motion In Limine (docket no. 246) is granted in its entirety.
Defendant Bell’s prior Motion In Limine (docket no. 129), filed October 21, 2009, and
addressing substantially the same evidence, is denied as moot.
      IT IS SO ORDERED.
      DATED this 5th day of February, 2010.


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                                              MARK W. BENNETT
                                              U. S. DISTRICT COURT JUDGE
                                              NORTHERN DISTRICT OF IOWA




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